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                                  UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                                    Portland


  JENNIFER JOY FREYD,                                                             CV.6:17-cv-448-MC

                                         Plaintiff,
                                                                DECLARATION OF GORDON C.
             v.                                                 NAGAYAMA HALL IN SUPPORT
                                                                OF DEFENDANTS UNIVERSITY
  UNIVERSITY OF OREGON, MICHAEL H.                              OF OREGON AND SADOFSKY'S
  SCHILL and HAL SADOFSKY,                                      MOTION FOR SUMMARY
                                                                JUDGMENT
                                      Defendants.


             I, Gordon C. Nagayama Hall, declare as follows:

  Educational and Professional Background

             1.      I am a professor in the Department ofPsychology at the University of Oregon. My

  educational background and professional credentials are summarized in the curriculum vitae

  attached hereto as Exhibit A.

             2.      Following my undergraduate and Master's level education I earned my Ph.D. in

  1982. I had both clinical and academic experience before I was recruited, in 2001,to the University

  of Oregon, including at the University of Washington, Kent State University, and Pennsylvania

  State University.


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  Duties, Responsibilities and Accountabilities at the University of Oregon: CoDaC

             3.       Although my academic appointment throughout my employment with the

  University of Oregon has been within the Department of Psychology, for the majority of my

  employment with the University of Oregon I have had substantial duties and responsibilities that

  have been carried on outside ofthat department. Almost immediately upon joining the University

  in 2001, I was appointed Interim Director for the Center on Diversity and Community, which is

  also commonly known as CoDaC. CoDaC had been recently founded and was staffed with a

  diverse team of research faculty, graduate students, and professionals with backgrounds in

  psychology, sociology, education, communication, curriculum development, conflict mediation,

  student affairs and theater arts. CoDaC has sponsored a range of training programs, professional

  development workshops, and public events. CoDaC operated relatively independently until 2013,

  when it was formally incorporated into the Division of Equity and Inclusion. Its mandate included

  working with a broad range of stakeholders across campus to advance the university's equity and

  inclusion roles. My personal background as well as my prior scholarly and clinical work with

  ethnic minorities facilitated my work with CoDac.

             4.      I was initially the Interim Director of CoDaC for a year, and resumed work with

  that organization in 2008. I remained with CoDaC from 2008 until 2017. For seven years, from

  2008 until 2015, I was the Associate Director of Research for CoDaC and in 2015 I became the

  Interim Director of CoDaC, a position I held for two more years, until the end of the 2016-17

  academic year. During that time I continued to hold an appointment with the Department of

  Psychology, but my CoDaC responsibilities occupied a significant and substantial amount of my

  time. I was officed with CoDaC at a location on campus that was different from the psychology

  offices. I estimate that my work with CoDaC occupied half of my time, sometimes more. Because

  the focus of CoDaC is on the advancement and inclusion of minority populations, my duties

  included providing support for the research work of other faculty across all departments of the



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   university. I participated as a representative of the Division of Equity and Inclusion in meetings,

  and worked one-on-one with faculty to assist them in planning their work and gathering necessary

  financial and other kinds of support for their work and providing day-to-day support for faculty

  development. I represented the Division on Equity and Inclusion in meetings with the central

  administration, and planned and presented workshops on how to understand and how to navigate

  various processes and to advance as faculty, again for a broad and diverse group of academic

  concentrations. CoDaC did not provide me with a research platform for my own work; rather my

  role with CoDaC was within a center that was designed to provide support for the development of

  other faculty. I continued to teach on a much-reduced basis, but the CoDaC commitments and

  responsibilities limited much of the scholarly research work I would otherwise have done for my

  personal academic pursuits.

  Duties, Responsibilities and Accountabilities at the University of Oregon: Director of Clinical
  Training and Accreditation Responsibilities

             5.      In addition my CoDaC responsibilities, I was asked to assume the role of Director

  of Clinical Training within the Department ofPsychology. I held this role for two distinct periods

  oftime — from 2003-2007, and then again from 2010-2014. My first appointment as Director was

  at the time I initially transitioned from my early work with CoDaC, and upon the end of that first

  appointment I moved into the Associate Director of Research position with CoDaC. The second

  time I was appointed Director of Clinical Training I was, at the same time, serving as Associate

  Director of Research at CoDaC.

             6.      The Director of Clinical Training position imposes substantial administrative

  responsibility. In that position, for both of my appointments, I had oversight responsibility for the

  psychology department's Ph.D. clinical training, some of which is done at external locations or

  sites. That, in turn, involved ensuring proper site selection and management, locating and

  arranging for alternate sites (sometimes on short notice or on an emergency basis), ensuring the

  clinical training provided by sites was content-rich and academically sound, approving


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   applications, ensuring that students were fully prepared to move into their internships, and related

   administrative responsibilities to ensure the effectiveness of external clinical training of students.

             7.      During my first appointment as Director of Clinical Training, I was responsible for

   guiding the clinical training program through the accreditation process for the American

   Psychological Association, work that I would repeat during my second and later appointment to

  this same position.        This accreditation work was extensive, detailed, and extremely time

   consuming. The accreditation standards require preparation of a comprehensive self-study

   accreditation document which includes training goals; objectives and practices; student, faculty

  and financial resources; program policies and procedures competencies that students are expected

  to obtain; and actual outcome data that demonstrate the achievement of these competencies. Once

  that study has been submitted and accepted, the accrediting organization conducts an on-site

  review of the program through a team of external professional colleagues to ensure consistency

   with the organization's Guidelines and Principles for Accreditation of Programs in Professional

  Psychology. The site visit is followed by a report to the Commission on Accreditation. I attended

   many meetings to follow through on processes, consulted with colleagues in other institutions,

  assembled the necessary supporting materials, worked through the accreditation standards to

  ensure and demonstrate compliance, and was the overall responsible university official for this

  major work. In 2003, the university was awarded a seven-year accreditation from the American

  Psychological Association.

             8.      The 2003 accreditation expired in 2010. That same year I returned to the position

  ofDirector ofClinical Training in 2010 and again accepted responsibilities to lead the accreditation

  renewal process. I held this second appointment alongside of my CoDaC appointment, to 2014.

  Again, my administrative responsibilities filled substantially more than half of my available work

  time, particularly because in addition to my administrative position as Director of Clinical Training

  I was still, at the same time, the Associate Director of Research with CoDaC.



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             9.       When I returned to the position of Director of Clinical Training in 2010, I was also

  responsible for leading a new and additional accreditation, this one through the Psychological

  Clinical Science Accreditation System. My responsibilities for that accreditation process involved

  preparation of the letter of intent, a detailed self-study, application materials, and arranging,

  coordinating and completing a site review. Although I was able to build on some ofthe work done

  for the American Psychological Association accreditation, there were additional details to which I

  had to be attentive, and I was working with a different time frame and a different accrediting body,

  so I was responsible to demonstrate that the University of Oregon program met the PCSAS mission

  and standards. At the same time, I was responsible to carry out the additional responsibilities of

  the Director of Clinical Training from my reappointment in 2010 until I stepped down at the end

  ofthe 2013-14 academic year.

             10.      When I stepped down as Director of Clinical Training in Spring 2014, I continued

  to serve as the Associate Director of Research for CoDaC, and I held that position for a further

  year.

             11.     In 2015, I was appointed Interim Director for the Center on Diversity and

  Community, a position which took more than half of my time for administrative responsibilities.

  I continued in that position until the end of the 2016-2017 academic year.

             12.     I have had two retention adjustments during my career with the University of

  Oregon. In approximately 2007 or 2008, as I was finishing my first assignment as Director of

  Clinical Training, I was recruited by the University of Michigan which at that time was looking at

  an accreditation process similar to the one I had just completed. I did not seek out this attractive

  offer. At the time, I was advised by the University of Oregon that the university wished to retain

  me and was given an increase if I agreed not to leave.

             13.     In 2015, again without seeking it, I received an outside offer from DePaul

  University. This was very attractive to me for family reasons, since it included a valuable tuition



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  exchange program which would have been a family benefit. The offer was attractive to me

   personally as well. Much of my work is done with culturally diverse populations. The cultural

   diversity of Chicago's other populations would have served my research interests. At the same

  time I had been encouraged to apply for a position at the University of California at Los Angeles

  to work in the field ofdiversity science. The University of Oregon provided me additional research

  funds so that I would not accept one of these offers but would remain with the University of

  Oregon. Even though this "retention offer" was not what I had requested, it was sufficient for me

  to make the decision to remain in Eugene. Following the retention offer I continued with my

  CoDaC responsibilities.

             14.   Within the Department of Psychology for the entire time I have been at the

  University of Oregon until her retirement in 2016, Helen Neville was consistently paid more than

  I was.

             15.   In 2016-2017, and again in this current academic year, Phil Fisher who is junior to

  me in seniority and in years since Ph.D. has received higher compensation than I have. This is

  largely a result of his having received retention offers. I am generally familiar with Dr. Fisher's

  responsibilities. Because of his grant supervision and grant activities as well as his work following

  me as the Director of Clinical Training, he does work that is substantially dissimilar from me as

  well as from other faculty within the department. In this most recent academic year, the same is

  true of Nicholas Allen who received a retention offer which moved him ahead of me in

  compensation. He too does work which is substantially dissimilar from that of other faculty within

  the department who do not work with as many grants as he does.

             16.   Ulrich Mayr is presently paid more than I am although I am senior to him in years

  since PhD. As the Department Head, he occupies the position which saps nearly all of his working

  time. His work as Department Chair, a position he has held for a number of years, is a




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  huge responsibility and a qualitatively different job from the position of a faculty member in the

  department.



             I hereby declare under penalty of perjury that the foregoing is true and correct.



             Executed, on                 ,2018.

                                                      Gordon C. Nagayama Hall




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                                    CERTIFICATE OF SERVICE

             I hereby certify that on the 16th day of November, 2018, I served the foregoing

  DECLARATION OF GORDON C.NAGAYAMA HALL IN SUPPORT OF DEFENDANTS

  UNIVERSITY OF OREGON                   AND SADOFSKY'S MOTION FOR SUMMARY

  JUDGMENT on the following parties at the following addresses:

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                                                        s/Paula A. Barran

                                                               Paula A. Barran
                                                               Shayda Zaerpoor Le

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